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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

   UNITED STATES OF AMERICA                          :   Mag. No. 13-2550(6) (DEA)

                   v.

   MENDEL EPSTEIN, et at.                            : CONTINUANCE ORDER


             Defendant BINYAMIN STIMLER having been arrested on a criminal complaint

   charging the defendant with conspiracy to kidnap, in violation of Title 18, United States

   Code, Section 1201(c); and the defendant having appeared before the Court for an initial

   appearance on October 10, 2013; and the defendant and his counsel being aware that
                                                                                               an
   Information or Indictment ordinarily must be filed within thirty (30) days of defendant’s

   initial appearance on this charge, pursuant to Title 18, United States Code, Section

  3161(b); and, pursuant to Title 18, United States Code, Section 3161(h)(7)(A), both
                                                                                      the
  United States and the defendant request this continuance so that the parties can explor
                                                                                               e
  the possibility of negotiating a plea agreement, thereby avoiding a possible trial;
                                                                                        and for
  good cause shown;

         IT IS on this            day Of                  201 3,
         ORDERED that from the date this Order is entered, to and including January 17,

  2013, shall be excluded in calculating the time within which an Information or Indictm
                                                                                            ent
  must be filed under the Speedy Trial Act for the following reasons:

         1        Both the United States and the defendant desire time to discuss the

  evidence and possible plea negotiations, which would render any grand jury
                                                                                 proceedings
  and any subsequent trial of this matter unnecessary;
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          2.     Pursuant to Title 18, United States Code, Section 3161 (h)(7)(A), the ends of

   justice served by granting the continuance outweigh the best interest of the public and the

   defendant in a speedy trial.



   SEEN AND AGREED:



   ShM.Wolfe
   Assistant U.S. Attorney




   David Schafer
   Attorney for Defendant Binyamin Stimler



                                                      HON. DOUGLAS EfAERT
                                                      United States Magi1cat4’ Judge
